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5                                  UNITED STATES DISTRICT COURT
6                                       DISTRICT OF NEVADA
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8
      UNITED STATES OF AMERICA,                               2:10-CR-0356-LDG-LRL
9
            Plaintiff,
10                                                            ORDER
      v.
11
      JEANNIE SUTHERLAND, et al,
12
            Defendants.
13
14
                                          FINDINGS OF FACT
15
           Based on the consent of the parties, and good cause appearing, the court finds that:
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           1.      Counsel for the defendants–specifically counsel for the defendants added to this
17
                   action by the Superceding Indictment–need additional time to investigate the facts
18
                   of this case.
19
           2.      The defendants are not incarcerated and do not object to the continuance.
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           3.      The parties agree to the continuance.
21
           4.      Denial of this request for continuance would deny counsel for defendants sufficient
22
                   time to effectively and thoroughly prepare for trial and could result in a miscarriage
23
                   of justice.
24
           5.      The additional time requested is excludable in computing the time within which the
25
                   trial herein must commence pursuant to the Speedy Trial Act, Title 18, United
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1                   States Code, Sections 3161(h)(6), (h)(7), considering the factors under Title 18,
2                   United States Code, Sections 3161(h)(7)(i) and 3161(h)(7)(iv).
3                                        CONCLUSIONS OF LAW
4           The ends of justice served by granting said continuance outweigh the best interests of the
5    public and the defendants in a speedy trial, since the failure to grant said continuance would likely
6    result in a miscarriage of justice, would deny the parties herein sufficient time and opportunity to
7    effectively and thoroughly prepare for trial, taking into account the exercise of due diligence.
8           The continuance is excludable in computing the time within which the trial herein must
9    commence pursuant to the Speedy Trial Act, Title 18, United States Code, Sections 3161(h)(6),
10   (h)(7), considering the factors under Title 18, United States Code, Sections 3161(h)(7)(i) and
11   3161(h)(7)(iv).
12                                                 ORDER
13          THE COURT HEREBY ORDERS that trial briefs, proposed voir dire questions, proposed
14   jury instructions, and a list of the Government’s prospective witnesses must be electronically
15   submitted to the court by September 13, 2011.
16          THE COURT FURTHER ORDERS that the calender call currently scheduled for June 21,
17   2011, at 8:30 a.m., be vacated and continued to September 13, 2011, and the trial currently
18   scheduled for June 27, 2011, be vacated and continued to September 26, 2011, at the hour of 8:30
19   a.m., in courtroom 6B.
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21          DATED this _____ day of June, 2011.
22
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24                                                         ______________________________
                                                           Lloyd D. George
25                                                         United States District Judge
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